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                       UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TEXAS
                           TEXARKANA DIVISION

 JUAN LOZADA-LEONI,                     §
                                        §
        Plaintiff,                      §
                                        §
 v.                                     §
                                        §   Civil Action No. 5:19-cv-00011-RWS-CMC
 MONEYGRAM INTERNATIONAL, INC., §
 JUAN      MANUEL          GONZALEZ and §
 CHRISTOPHER PONDER in their official §
 and individual capacities,

       Defendants.

           DEFENDANT MONEYGRAM INTERNATIONAL, INC.’S
  MOTION TO DISMISS FOR IMPROPER VENUE, OR ALTERNATIVELY, MOTION
              TO TRANSFER VENUE, AND BRIEF IN SUPPORT



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                           UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                               TEXARKANA DIVISION

 JUAN LOZADA-LEONI,                     §
                                        §
        Plaintiff,                      §
                                        §
 v.                                     §
                                        §          Civil Action No. 5:19-cv-00011-RWS-CMC
 MONEYGRAM INTERNATIONAL, INC., §
 JUAN      MANUEL          GONZALEZ and §
 CHRISTOPHER PONDER in their official §
 and individual capacities,

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           DEFENDANT MONEYGRAM INTERNATIONAL, INC.’S
  MOTION TO DISMISS FOR IMPROPER VENUE, OR ALTERNATIVELY, MOTION
              TO TRANSFER VENUE, AND BRIEF IN SUPPORT

        Defendant MoneyGram International, Inc. (“MGI”) files its Motion to Dismiss for

 Improper Venue, or Alternatively, Motion to Transfer Venue, and Brief in Support (“Motion”)

 and states:

                                         OVERVIEW

        1.     Plaintiff Juan Lozada-Leoni (“Plaintiff”) alleges that he is a former employee of

 MGI, and that MGI terminated his employment in violation of the Sarbanes-Oxley Act of 2002

 (“SOX”). Plaintiff filed an administrative complaint with the United States Department of Labor

 making the same allegation. After more than 180 days had passed without the DOL having made

 a final determination, Plaintiff filed suit in this Court, in which he has alleged that MGI and

 individual defendants Juan Manuel Gonzalez (“Gonzalez”) and Christopher Ponder (“Ponder”)

 (together, the “Individual Defendants”) all took adverse employment actions against him in

 violation of SOX.



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         2.       This Court should dismiss Plaintiff’s claims against MGI pursuant to Rule

 12(b)(3) because the Eastern District of Texas is not a proper venue. As set forth in their

 respective motions to dismiss, the Court lacks subject-matter jurisdiction over Plaintiff’s claims

 against both Individual Defendants, and lacks personal jurisdiction over Gonzalez. In the

 interests of judicial economy, Defendants recommend that the Court address and dismiss the

 claims against the Individual Defendants prior to deciding this Motion. The Court should then

 grant the Motion because the acts and omissions by MGI allegedly giving rise to Plaintiff’s claim

 against MGI either were not done by MGI or did not occur in this District, and because MGI

 does not reside in this District.

         3.       Simply put, Plaintiff brought his administrative complaint against the wrong

 party, and has now sued the wrong party. MGI did not employ Plaintiff. His employer was

 MoneyGram Payment Systems, Inc. (“MPSI”). MPSI – not MGI – also employs the Individual

 Defendants. MGI has no employees and no presence in this District. To the extent that any part

 of the acts giving rise to Plaintiff’s claims occurred in this District, those acts were carried out by

 MPSI, not MGI. To the extent Plaintiff intends to pursue a claim against MGI, despite having

 been repeatedly put on notice, and having admitted, that MPSI is the “proper” defendant, he

 cannot do so in this District. The Court should either dismiss pursuant to Rule 12(b)(3) or

 transfer this action to the Northern District of Texas, Dallas Division, pursuant to 28 U.S.C. §

 1406.

         4.       Alternatively and in addition, to the extent the Court determines that venue is

 proper in this District, the Court should exercise its discretion to transfer the case to the Northern

 District of Texas, Dallas Division, or to the Sherman Division of this District, pursuant to 28

 U.S.C. § 1404.


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                              STATEMENT OF ISSUES TO BE DECIDED

            5.      Pursuant to Local Rule CV-7(a)(1), MGI states that the issues to be decided by

 the Court in determining MGI’s request for case-dispositive relief are:

                    a. Whether venue is proper in this Court under 28 U.S.C. § 1391; and

                    b. If venue is not proper, whether the Court should dismiss the case, or whether
                       the court should transfer it to a proper venue.

            6.      If and to the extent the Court determines these issues in favor of Plaintiff, the

 Court then must determine MGI’s alternative requests for non-case-dispositive relief, i.e.,

 whether the Court should retain jurisdiction over the case or exercise its discretion to transfer the

 case to a more convenient venue pursuant to 28 U.S.C. § 1404.

                                                 EVIDENCE

            7.      Pursuant to Local Rule CV-7(b), MGI has attached several documents in support

 of the Motion. Many appear in the administrative record of the proceeding from which Plaintiff

 purports to bring this action for de novo review. The Court may take judicial notice of these

 items; they are provided for that purpose and for the convenience of the Court. MGI has

 additionally attached the Declaration of Elizabeth Weathers-Nguyen in support of certain of the

 factual statements made below, as well as excerpts from Plaintiff’s deposition, and certain

 correspondence between counsel.

                                FACTS AND FACTUAL ALLEGATIONS,
                                INCLUDING PROCEDURAL HISTORY

            8.      Background Regarding MGI and MPSI. MGI is a Delaware corporation that

 maintains its principal place of business at 2828 N. Harwood Street in Dallas, Texas. See Exhibit

 1 at ¶ 2.1 MGI has maintained its principal place of business in Dallas since 2010. [Id.] Plaintiff’s


 1
     Declaration of Elizabeth Weathers-Nguyen.

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 statement in his First Amended Complaint that MGI maintains its “headquarters located at 3000

 Internet Blvd., Frisco, Texas,” is untrue. [Id.] MGI has never maintained an office of any kind in

 Frisco, Texas. [Id.]

         9.      Non-party MoneyGram Payment Systems, Inc. (“MPSI”) is a subsidiary of MGI.

 [Id.] MPSI is likewise headquartered at 2828 N. Harwood Street in Dallas, Texas. [Id. ¶ 3.]

 MPSI maintains its personnel records for all U.S. offices in Dallas. [Id.] MPSI has no office or

 employees within the Texarkana Division. [Id.] MPSI gave Plaintiff an offer letter for

 employment from MPSI, which he accepted. [Id. ¶ 4 and Ex. 1.] MPSI employed Plaintiff from

 approximately October 2016 until approximately April 2017, when MPSI terminated his

 employment. [Id. ¶ 4.]

         10.     Plaintiff worked for MPSI at its office at 3000 Internet Boulevard in Frisco,

 Texas. [Id.] That office space is leased by MPSI, not MGI. [Id.] MGI does not transact business

 in MPSI’s Frisco, Texas, office, or anywhere else in the Eastern District of Texas. [Id.] Plaintiff

 has never been employed by MGI. [Id. ¶ 5.] Individual Defendants are currently employed by

 MPSI and have never been employed by MGI. [Id.]

         11.     Plaintiff’s Original DOL Complaint Misidentified his Employer as MGI.

 After MPSI terminated Plaintiff’s employment, Plaintiff (through counsel) filed a “formal

 complaint under Section 806 of the Sarbanes-Oxley Act of 2002” with OSHA. See Exhibit 2.2

 MGI is the only identified respondent. Id. OSHA determined from the face of the complaint that

 Plaintiff had not even “present[ed] a prima facie showing” of liability. It issued a letter on

 October 12, 2017, dismissing the complaint for that reason. See Exhibit 3.3 The DOL advised


 2
  September 28, 2017, SOX Complaint submitted to OSHA Region Six Administrator by counsel for Plaintiff.
 3
   October 12, 2017, letter from OSHA Regional Supervisory Investigator Angela Fisher to counsel for Plaintiff,
 advising of OSHA’s dismissal of the Complaint.

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 Plaintiff that he had “30 days from the receipt of these Findings to file objections and to request a

 hearing before an Administrative Law Judge.” [Id.] Plaintiff lodged objections on November 13,

 2017, and requested a hearing in front of an ALJ. See Exhibit 4.4

         12.      The ALJ Proceeding. The DOL opened Case Number 2018-SOX-00004, which

 it styled Juan Lozada-Leoni v. MoneyGram International, and assigned the case to

 Administrative Law Judge Tracy A. Daly. Judge Daly issued a Notice of Case Assignment and

 Prehearing order on January 11, 2018. See Exhibits 5 and 6.5 In that Notice, Judge Daly ordered

 Plaintiff to file a “detailed Pleading Complaint” by January 25, 2018. See Exhibit 6 at p. 3.

         13.      In a February 23, 2018, Notice of Hearing Date and Filing Deadlines, Judge Daly

 also imposed a March 15 deadline for “dispositive and joinder motions.” See Exhibit 7.6 Plaintiff

 filed no such motion. Plaintiff filed his Original [Administrative] Complaint on March 9, 2018.

 See Exhibit 8.7 Plaintiff identified only one respondent – MGI – and did not seek relief against

 any party other than MGI. [Id.] MPSI, despite having been Plaintiff’s employer, is not named.

 [Id.] Plaintiff filed his First Amended [Administrative] Complaint on March 26, 2018. See

 Exhibit 9.8 Again, MGI was the only respondent and the only party against whom Plaintiff

 sought relief. [Id.]

         14.      MPSI Put Plaintiff on Notice. Presuming that Plaintiff’s decision to file his

 complaint against MGI rather than against his employer, MPSI, had been inadvertent rather than

 deliberate, MPSI responded to Plaintiff’s First Amended [Administrative] Complaint on April 6,


 4
   November 13, 2017, letter from counsel for Plaintiff to the Chief Administrative Law Judge, Department of Labor,
 objecting to the dismissal and requesting a hearing on the record.
 5
   Exhibit 5: Docket sheet for Case No. 2008-SOX-00004, Juan Lozada-Leoni v. MoneyGram International, before
 the United States Department of Labor. Exhibit 6: Notice of Case Assignment and Prehearing Order, issued on
 January 11, 2018.
 6
   Notice of Hearing Date and Filing Deadlines, issued on February 23, 2018.
 7
   Juan Lozada-Leoni’s Original Complaint, filed on March 9, 2018.
 8
   Juan Lozada-Leoni’s First Amended [Administrative] Complaint, filed on March 26, 2018.

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  2018. See Exhibit 10.9 In particular, MPSI filed the Response as “Respondent MoneyGram

  Payment Systems, Inc., improperly named herein as MoneyGram International.” [Id. at p. 1.] In

  answering Plaintiff’s allegation that MGI employed him, “MoneyGram state[d] that Complainant

  was employed by MoneyGram Payment Systems, Inc. rather than by MoneyGram

  International[.]” [Id. at § II, ¶ 1.]

             15.     Plaintiff Acknowledged MPSI as his Former Employer in the ALJ

  Proceeding. Plaintiff gave deposition testimony on May 23, 2018. Again, MGI and MPSI were

  up front:

             Q:      Will you please state and spell your full name for the record, please.

             A:      Juan Lozada-Leoni. . . .

                                                         ***

             Q:      Okay. And, sir, my name is John Barcus. I’m with the Ogletree Deakins
                     Law Firm and I represent MoneyGram Payment Systems, Incorporated.
                     Do you understand that?

             A:      I do.

             Q:      And if I refer in this deposition simply to “MoneyGram,” do you
                     understand that I mean the entity that was your former employer,
                     MoneyGram Payment Systems, Incorporated?

             A:      I do.

  See Exhibit 11 at pp. 4:10 – 5:1 (emphasis added).10 Despite the Response, and despite admitting

  that MPSI employed him, Plaintiff failed to amend his administrative complaint to identify MPSI

  as a respondent, or to assert claims against MPSI.

             16.     Plaintiff’s Election to File This Suit. After already having continued the final

  hearing once at Plaintiff’s request, on December 19, 2018, Judge Daly set the ALJ Proceeding

  9
      Response to Revised First Amended [Administrative] Complaint, filed on April 6, 2018.
  10
      Excerpts from the May 23, 2018, Deposition of Juan Lozada-Leoni.

  DEFENDANT MONEYGRAM INTERNATIONAL, INC.’S MOTION TO DISMISS
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  for a bifurcated final hearing beginning on January 16, 2019. See Exhibit 12.11 Rather than allow

  Judge Daly to conduct the final hearing, on December 21, 2018, counsel for Plaintiff “informally

  notified” Judge Daly of his client’s intention to “exercise his right under 29 C.F.R. 1980.114 to

  bring this matter in a U.S. District Court. In pertinent part, Complainant[’s] counsel advised that

  ‘next week we will be filing the formal removal notice under Section 1980.114.’” See Exhibit

  13.12 Judge Daly entered an order suspending the existing filing deadlines and directing Plaintiff

  to provide a copy of the promised federal complaint by January 4, 2019. Id.

          17.       Plaintiff Tries to File Suit in the Northern District.                 After obtaining an

  extension an extension of time to provide evidence of filing of his federal complaint, at 4:16 p.m.

  on January 23, 2019, counsel for Plaintiff delivered a letter by fax to Judge Daly, attaching what

  purported to be copies of three filings, and stating as follows:

          Enclosed please find your copy of the following:

                •   Plaintiff Juan Lozada-Leoni’s Original Complaint

                •   Plaintiff’s Civil Cover Sheet

                •   Plaintiff’s Certificate of Interested Parties

          We are currently experiencing technical difficulties with the Northern District
          of Texas ECF filing system.

          As soon as we get a docket number assigned to this Original Complaint, we will
          provide you with a copy of same.

  See Exhibit 14 (emphasis added).13 The version of the complaint attached to the fax bore the

  style of this case – with MGI, Gonzalez, and Ponder named as defendants – but identified the

  court as the Northern District of Texas, Dallas Division. [Id.]


  11
     December 19, 2018, Order Establishing Hearing Filing Deadlines and Notice of Additional Hearing Session.
  12
     Order Suspending Filing Deadlines, issued on December 27, 2018.
  13
     January 23, 2019, fax from counsel for Plaintiff.

  DEFENDANT MONEYGRAM INTERNATIONAL, INC.’S MOTION TO DISMISS
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          18.      Plaintiff Files Suit in this District. At 10:45 p.m. on January 23, 2019, counsel

  for Plaintiff emailed Judge Daly to advise that the “technical difficulties” were ongoing, and that

  “rather than run the risk of violating Judge Daly’s order that no more extensions would be

  granted beyond today, out of an abundance of caution we went ahead and filed in the Eastern

  District.” See Exhibit 15.14 Plaintiff’s counsel remarked that his “preliminary research indicates

  that venue would be proper in both Districts.” [Id.] On January 24, 2019, Judge Daly issued an

  Order of Dismissal, acknowledging what he believed to be a complaint that had been filed in the

  Northern District of Texas, Dallas Division, and ordering that “the complaint filed in this matter

  under the Sarbanes-Oxley Act is DISMISSED with prejudice.” See Exhibit 16.15

          19.      After Plaintiff filed his Original Complaint [doc. 1], on January 23, 2019, the

  undersigned counsel contacted counsel for Plaintiff to ask why the case had been filed in this

  Division, and to determine the connection, if any, between this Division and the claims in the

  lawsuit. Counsel for Plaintiff advised again that “there was some last minute glitch in my filing

  number in the Northern District, so I decided to file in the Eastern District.” See Exhibit 17.16 As

  to the question regarding the nexus between the Texarkana Division and the claims in the suit,

  counsel for Plaintiff deflected, stating that he would “defer answers . . . when we respond to what

  I’m sure will be a Motion to Transfer. . . . The firms that I have interviewed for local counsel are

  fairly confident that we can keep the case in the Texarkana Division, so we will see how accurate

  that prediction is.” [Id.] Pressed again to answer the simple question of why the Texarkana

  Division is a proper venue, counsel for Plaintiff indicated, “I will let my local counsel do the

  talking for me.” [Id.]

  14
     January 23, 2019, email from counsel for Plaintiff.
  15
     January 24, 2019, Order of Dismissal. Judge Daly appears to have received or reviewed the January 23 fax, but
  not the late-night January 23 email, prior to issuing the Order of Dismissal.
  16
     February 6, 2019, email from counsel for Plaintiff.

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         20.     Plaintiff’s Inaccurate or Vague Allegations Regarding MGI. On March 20,

  2019, Plaintiff filed his First Amended Complaint (“Complaint”) [doc. 4]. It is his live pleading.

  As noted above, despite having been put on notice repeatedly that MPSI was his employer and

  acknowledging that MPSI was his employer, Plaintiff persists in naming MGI as the corporate

  defendant and omitting all reference to MPSI. Plaintiff alleges, inaccurately, that he “began work

  as a Senior Manager for the U.S. Regional Compliance Team for MoneyGram International, Inc.

  on October 8, 2016.” [First Amended Complaint (doc. 4) at ¶ 6.] He alleges, again incorrectly,

  that MGI employed the Individual Defendants. [Id. ¶¶ 6-7.] He alleges that he complained “to

  management” about MGI’s alleged violations of certain policies, laws, and regulations. [Id. ¶

  10.] He alleges, carefully and in the passive voice, that he “was terminated” for “seeking to stop

  MGI’s illegal acts” and that Individual Defendants “are two managers to whom Plaintiff

  complained of MGI’s violations and who were involved in Plaintiff’s termination.” [Id. ¶¶ 10-

  11.]

               THE INDIVIDUAL DEFENDANTS’ JURISDICTIONAL MOTIONS

         21.     As a general rule, a court faced with multiple grounds for dismissal should decide

  subject-matter jurisdiction first. “When a Rule 12(b)(1) motion is filed in conjunction with other

  Rule 12 motions, the court should consider the 12(b)(1) jurisdictional attack before addressing

  any attack on the merits.” Ramming v. United States, 281 F.3d 158, 161 (5th Cir. 2001). See

  Ruhrgas AG v. Marathon Oil Co., 526 U.S. 574 (1999) (“in most instances subject-matter

  jurisdiction will involve no arduous inquiry” and ordinarily should be disposed of first, although

  if there is a “straightforward personal jurisdiction issue” and the subject-matter inquiry “raises a

  difficult and novel question,” the court has discretion to reverse the order of inquiry).




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          22.     Both Individual Defendants have filed motions demonstrating that Plaintiff failed

  to exhaust his administrative remedies with regard to his claims against them, depriving the

  Court of subject-matter jurisdiction over those claims. Gonzalez has also challenged personal

  jurisdiction. For the reasons set forth in the Individual Defendants’ respective motions, the Court

  should dismiss Plaintiff’s claims against Individual Defendants. When it does, the Court should

  be left with Plaintiff’s claims against MGI. For procedural reasons, it would make no sense for

  the Court to decide this Motion first, or for the Court to evaluate Individual Defendants’

  connections to this forum for purposes of determining whether this District is a proper venue for

  Plaintiff’s claims against MGI, when the Court is otherwise constitutionally barred from

  determining the merits of Plaintiff’s claims against the Individual Defendants.

                                  ARGUMENT AND AUTHORITY

          Based on the foregoing facts, the Court should grant the Motion for each of the following

  reasons:

  A.      The Court should dismiss Plaintiff’s claims against MGI pursuant to Rule 12(b)(3).

          23.     The general venue statute applies. In the absence of a special venue statute,

  venue is determined by the general venue statute, 28 U.S.C. § 1391. Plaintiff’s only cause of

  action is for retaliation in violation of the Sarbanes-Oxley Act (“SOX”). [Complaint (doc. 4) ¶¶

  89-91.] Because there is no special venue provision in SOX, general venue rules apply. Venue is

  proper in (1) “a judicial district in which any defendant resides, if all defendants are residents of

  the State in which the district is located;” (2) “a judicial district in which a substantial part of the

  events or omissions giving rise to the claim occurred;” or (3) if there is no other district in which

  the action may be brought, “any judicial district in which any defendant is subject to the court’s

  personal jurisdiction with respect to such action.” 28 U.S.C. § 1391(b)(1)-(3).


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         24.     Plaintiff has the burden to prove that venue is proper in this District. In

  determining whether venue is proper in this District under 28 U.S.C. § 1391, under any of those

  three prongs, the allegations in the Complaint are subject to being controverted and are not

  automatically assumed to be true. “Under Rule 12(b)(3) . . . the district court assumes the truth of

  the allegations in the plaintiff’s complaint unless contradicted by the defendant’s affidavits. Rule

  12(b)(3) is a somewhat unique context of dismissal in that a court may look beyond the mere

  allegations of a complaint, and need not view the allegations of the complaint as the exclusive

  basis for its decision.” Deb v. SIRVA, Inc., 832 F.3d 800, 809 (7th Cir. 2016) (emphasis original).

  The Court is instead “permitted to look at the evidence in the record,” including “the complaint

  supplemented by undisputed facts plus the court’s resolution of disputed facts.” Ambraco, Inc. v.

  Bossclip B.V., 570 F.3d 233, 237-238 (5th Cir. 2009).

         25.     When challenged, plaintiff bears the burden to establish that venue is proper,

  because “it is the plaintiff’s obligation to institute his action in a permissible forum, both in terms

  of jurisdiction and venue.” 5B Charles Alan Wright & Arthur R. Miller, Federal Practice and

  Procedure § 1352 (2004); Langton v. Cbeyond Comm’n, L.L.C., 282 F. Supp. 2d 504, 508 (E.D.

  Tex. 2003) (Davis, J.). See, e.g., Baptist Hospitals of Southeast Tex. v. SelectCare of Tex., Inc.,

  No. 1:17-CV-456, 2018 WL 5569424, at *3 (E.D. Tex. Oct. 4, 2018) (citing Langton); Broadway

  Nat’l Bank v. Plano Encryption Techs., LLC, 173 F. Supp. 3d 469, 473 (W.D. Tex. 2016) (“once

  challenged, the burden of sustaining venue lies with plaintiff”); Clemons v. WPRJ, LLC, 928 F.

  Supp. 2d 885, 897 (S.D. Tex. 2013) (same).

         26.     Venue is not proper in this District under Section 1391(b)(1). The evidence

  establishes that this District is not a proper venue for Plaintiff’s claims against MGI under

  Section 1391(b)(1) because this District is not a “judicial district in which any defendant resides,


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  if all defendants are residents of the State in which the district is located.” 28 U.S.C. §

  1391(b)(1). If the Court were to consider the residence of the Individual Defendants, this section

  would not apply, because it is undisputed that Gonzalez resides in Florida. However, even if the

  Court does not consider the residence of the Individual Defendants, this section still does not

  make this District a proper venue. MGI does not dispute that it is subject to personal jurisdiction

  in Texas. Accordingly, because Texas is a state with multiple Districts, MGI is “deemed to

  reside” in any district within Texas “within which its contacts would be sufficient to subject it to

  personal jurisdiction if that district were a separate State, and, if there is no such district, the

  corporation shall be deemed to reside in the district within which it has the most significant

  contacts.” 28 U.S.C. § 1391(d).

         27.     MGI would not be subject to general personal jurisdiction in the Eastern District

  if it were a separate state. General jurisdiction exists “only when the defendant’s contacts with

  the forum state are so continuous and systematic as to render them essentially at home in the

  forum state. Substantial, continuous, and systematic contact with a forum is a difficult standard

  to meet and requires extensive contacts between a defendant and the forum.” Cunningham v.

  CBC Congl., LLC, --- F. Supp. 3d ---, 2019 WL 452749, at *1 (E.D. Tex. Feb. 5, 2019). There is

  no evidence that MGI is “essentially at home” in this District. To the contrary, it undisputed that

  MGI is a Delaware corporation with its principal place of business in Dallas, Texas, and it is

  undisputed that MGI does not have employees in this District and does not transact business in

  this District. Plaintiff cannot establish that venue is proper over his claims against MGI under

  Section 1391(b)(1).

         28.     Venue is not proper in this District under Section 1391(b)(2). The evidence

  also establishes that this District is not a proper venue for Plaintiff’s claims against MGI because


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  it is not “a judicial district in which a substantial part of the events or omissions giving rise to the

  claim occurred.” 28 U.S.C. § 1391(b)(2). By definition, all of the events or omissions giving rise

  to Plaintiff’s sole cause of action for wrongful termination under SOX arose out of his

  employment, which was with MPSI. Plaintiff’s allegation that he was employed by MGI is false,

  as are his contentions that any of the actors identified in his Complaint (including Gonzalez and

  Ponder, who were “involved in Plaintiff’s termination”) were acting as agents of MGI rather than

  as agents of their (and Plaintiff’s) employer, MPSI. Even if the events giving rise to his claim

  (i.e., his reporting of what he believed to be an illegal activity, and adverse employment actions

  allegedly taken against him as a result of his protected activity) occurred in this District, they

  were not events or omissions involving MGI.

         29.     Plaintiff has alleged that he reported his concerns to Gonzalez, but has not alleged

  that Gonzalez was present in the District when he made those reports, and in any event, both

  Plaintiff and Gonzalez were employed by MPSI. Plaintiff has alleged that his employment “was

  terminated;” he has not alleged where his employment was terminated, or by whom, but ,even if

  Plaintiff was terminated in this District, the termination was carried out by MPSI and its

  employees, not by MGI. Plaintiff has made a handful of accurate allegations regarding MGI,

  including that it entered into a stipulated order with the FTC in 2009 and a Deferred Prosecution

  Agreement with the Department of Justice in 2012. However, the existence of those documents

  is not an “event or omission giving rise to the claim,” and in any event, the stipulated order

  “arose” in Illinois and the DPA “arose” in a proceeding pending in the Middle District of

  Pennsylvania, as Plaintiff acknowledges. [Complaint (doc. 4) ¶¶ 12-16.] In light of the

  undisputed evidence that Plaintiff and the Individual Defendants were employed by MPSI, and

  that Plaintiff’s employment with MPSI was terminated by MPSI, there is no evidence from


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  which the Court may reasonably conclude that a “substantial part of the events or omissions

  giving rise” to Plaintiff’s claim against MGI occurred in this District, and venue is therefore not

  proper under Section 1391(b)(2).

         30.     Venue is not proper in this District under Section 1391(b)(3). Venue under

  Section 1391(b)(3) is only ever proper “if there is no district in which any action may otherwise

  be brought as provided in this section[.]” 28 U.S.C. § 1391(b)(3). In this case, there is a district

  in which Plaintiff’s claims against MGI – however unmeritorious they are – may be brought. In

  particular, Plaintiff may bring an action against MGI in the Northern District of Texas, Dallas

  Division, which is the place Plaintiff informed Judge Daly that he had filed suit, and was just

  waiting on a docket number to be assigned.

         31.     The Court should exercise its discretion to dismiss rather than transfer. For

  all of the foregoing reasons, venue is not proper in this District for Plaintiff’s claims against

  MGI. “If a district court where suit is filed determines that venue is improper, it has discretion to

  either dismiss the suit, or ‘if it be in the interest of justice, transfer such case to any district or

  division in which it could have been brought.’” McClintock v. School Bd. East Feliciana Parish,

  299 Fed. App’x 363, 366 (5th Cir. 2008) (quoting 28 U.S.C. § 1406(a)).

         32.     Here, the Court should dismiss the case and not reward Plaintiff’s gamesmanship

  by transferring the case to a different venue. Plaintiff knew that MPSI was his employer from the

  outset. After MPSI terminated his employment, Plaintiff chose not to submit an administrative

  complaint against MPSI, but rather against MGI. Whether that was a strategic or tactical decision

  or merely an oversight is unknown and immaterial. To the extent it was an oversight, Plaintiff

  and his counsel certainly knew when MPSI filed its Response that MPSI was the proper

  respondent, because it said so in the Response. Despite the obvious invitation, Plaintiff declined


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  to amend. Plaintiff then acknowledged in his deposition that MPSI had been his employer.

  Again, he declined to amend. Then, on the eve of the rescheduled final hearing, Plaintiff

  removed the case from administrative jurisdiction and filed this suit.

         33.     Plaintiff therefore knew, before he filed this suit, that MGI was the wrong

  defendant. Plaintiff also knew, before filing this suit, that the Eastern District was the wrong

  venue for his claims, however spurious, against MGI. Plaintiff represented to Judge Daly on

  January 23, 2019, that he had filed suit in the Northern District but was having “technical

  difficulties” that he was going to work out, so that the Northern District could assign a docket

  number. In the version of the complaint he submitted to Judge Daly, Plaintiff alleged that venue

  was proper in the Northern District because “Defendant’s principal place of business is in this

  district.” See Exhibit 14 at p. 9. He alleged, correctly, that MGI is “incorporated under the laws

  of Delaware, and headquartered at 2828 N. Harwood St., No. 15, Dallas, Texas 75201.” [Id. at p.

  10.] He prepared a Certificate of Interested Parties, listing “MoneyGram International, Inc., 2828

  N. Harwood Street #15, Dallas, Texas 75201.” [Id. at pp. 6-7.]

         34.     Apparently unable to overcome the alleged “technical difficulties,” Plaintiff filed

  his Original Complaint in this Court. Suddenly and without explanation, MGI went from being

  headquartered in Dallas to “headquartered at 3000 Internet Blvd., Frisco, Texas 75034.” [Doc. 1

  at ¶ 6.] That is, Plaintiff not only changed his mind about which District was proper, he changed

  his factual allegations to something he knew to be false to justify filing this case in this District.

         35.     Likewise, Plaintiff’s choice of the Texarkana Division cannot be interpreted as

  anything other than gamesmanship. Plaintiff has not even alleged a factual nexus to this

  Division. Plaintiff’s counsel acknowledged immediately after filing the Original Complaint that

  he anticipated “what I’m sure will be a Motion to Transfer,” but refused to answer a direct


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  question about the basis for venue in this Division – “I will let my local counsel do the talking

  for me.”

         36.     The Court should not reward Plaintiff’s gamesmanship (and his knowingly false

  allegation regarding MGI’s principal place of business, not to mention the false allegations about

  MGI having been his employer) by making life easier on him with a transfer of venue. Instead,

  the Court should exercise its discretion to dismiss Plaintiff’s claims against MGI.

  B.     Alternatively, the Court should exercise its discretionary authority to transfer the
         case to the Northern District (or alternatively to the Sherman Division).

         37.     In the alternative, if the Court determines that this District is a proper venue for

  Plaintiff’s claims against MGI, the Court should exercise its discretion transfer the case to the

  Northern District of Texas, or alternatively to the Sherman Division of this District, pursuant to

  28 U.S.C. § 1404(a).

         1.      The standards for discretionary transfer under Section 1404(a) are well
                 established, and apply equally to transfers between districts and intra-
                 district transfer.

         38.     When venue is proper in the district where a lawsuit is originally filed, “[f]or the

  convenience of the parties and witnesses, in the interest of justice, a district court may transfer

  any civil action to any other district or division where it might have been brought.” 28 U.S.C. §

  1404(a). In determining motions for discretionary transfer, courts consider factors relating to

  both the convenience of the litigants and the public’s interest in the fair administration of justice.

  Langton, 282 F. Supp. 2d at 509. These so-called “public and private interest factors,” discussed

  in detail below, “apply as much to transfers between divisions of the same district as to transfers

  from one district to another.” In re Radmax, Ltd., 720 F.3d 285, 287 (5th Cir. 2013). See, e.g.,

  Durrett v. Walmart, Inc., No. 2:18-CV-00332-JRG, 2018 WL 5630521 (E.D. Tex. Oct. 31, 2018)

  (same) (citing Radmax).

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           39.   The purpose of Section 1404(a) is to “prevent the waste of time, energy, and

  money and to protect litigants, witnesses and the public against unnecessary inconvenience and

  expense.” Amini Innovation Corp. v. Bank & Estate Liquidators, Inc., 512 F. Supp. 2d 1039,

  1042 (S.D. Tex. 2007) (quoting DataTreasury Corp. v. First Data Corp., 243 F. Supp. 2d 591,

  593 (N.D. Tex. 2003)). Section 1404(a) is intended to place discretion in the district court to

  adjudicate motions to transfer according to an “individualized, case-by-case consideration of

  convenience and fairness.” Stewart Org., Inc. v. Ricoh Corp., 487 U.S. 22, 29 (1988). It is a tool

  to prevent “plaintiffs from abusing their privilege under § 1391 by subjecting defendants to

  venues that are inconvenient[.]” In re Volkswagen of Am., Inc., 545 F.3d 304, 311 (5th Cir.

  2008).

           40.   Chief Judge Gilstrap very recently explained and applied the public and private

  interest factors used to assess motions for transfer under Section 1404(a) in a case involving a

  request for intra-district transfer. Durrett v. Walmart, Inc., No. 2:18-CV-00332-JRG, 2018 WL

  5630521 (E.D. Tex. Oct. 31, 2018). In Durrett, the plaintiff filed suit in the Marshall Division,

  alleging a negligence claim against Walmart for a “slip and fall” injury. Id. at *1. Walmart asked

  the court to transfer the case to the Tyler Division, where the store was located and where the

  plaintiff obtained all of the medical treatment for her injuries. Id.

           41.   After determining that jurisdiction would have been proper in the requested

  transferee district or division, the court must determine whether “for the convenience of the

  parties and witnesses, and in the interest of justice,” the case should be transferred. 28 U.S.C. §

  1404(a). The court does this by analyzing “public and private factors relating to the convenience

  of the parties and witnesses as well as the interests of particular venues in hearing the case.”

  Durrett, 2018 WL 630521 at *2. Judge Gilstrap explained:


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                The private factors are “(1) the relative ease of access to sources of proof; (2)
                the availability of compulsory process to secure the attendance of witnesses;
                (3) the cost of attendance for willing witnesses; and (4) all other practical
                problems that make trial of a case easy, expeditious and inexpensive.” [In re
                Volkswagen AG, 371 F.3d 201, 203 (5th Cir. 2004) (“Volkswagen I”).] The
                public factors are “(1) the administrative difficulties flowing from court
                congestion; (2) the local interest in having localized interests decided at home;
                (3) the familiarity of the forum with the law that will govern the case; and (4)
                the avoidance of unnecessary problems of conflict of laws of the application
                of foreign law.” Id. These factors are decided based on “the situation which
                existed when suit was instituted.” Hoffman v. Blaski, 363 U.S. 335, 343
                (1960). Though the private and public factors apply to most transfer cases,
                “they are not necessarily exhaustive or exclusive,” and no single factor is
                dispositive. In re Volkswagen of Am., Inc., 545 F.3d 304, 314-315 (5th Cir.
                2008) (“Volkswagen II”).


  Durrett, 2018 WL 5630521 at *2. See, e.g., Radmax, 720 F.3d at 287-290 (applying the public

  and private interest factors and granting a writ of mandamus to correct an erroneous denial of a

  motion for intra-district transfer); Berry v. Pilgrim’s Pride Corp., No. 2:16-cv-409-JRG, 2016

  WL 6092701 (E.D. Tex. Oct. 19, 2016) (applying public and private interest factors and granting

  motion for intra-district transfer).

          2.       Venue would have been proper in the Northern District, and in the Sherman
                   Division of this District.

          42.      Before turning to the public and private interest factors, the Court must determine

  that venue would have been proper in the requested transferee court. 28 U.S.C. § 1404(a). For all

  the reasons set forth above, if the Court dismisses the Individual Defendants before turning to

  questions of venue, then the Northern District would at minimum have been a proper venue for

  Plaintiff’s claims against MGI. And, if the Court disregards the fact that the events and

  omissions giving rise to Plaintiff’s claims against MGI were actually committed by MPSI (which

  it should not), and simply looks at Plaintiff’s allegations regarding where the events and

  omissions allegedly occurred without regard to who did them, then the Sherman Division of this


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  District would also have been a proper venue, insofar as Plaintiff has alleged a number of events

  and omissions that occurred in MPSI’s Frisco, Texas, offices.

         43.     If the Court either (1) decides the issue of venue before turning to Individual

  Defendants’ jurisdictional grounds for dismissal or (2) denies Individual Defendants’

  jurisdictional grounds for dismissal, then either the Northern District of Texas, Dallas Division

  (where Plaintiff originally attempted to sue all three Defendants, before experiencing technical

  difficulties), or the Sherman Division of this District would have been proper venues for

  Plaintiff’s claims in this lawsuit – though this depends, again, on the Court disregarding the fact

  that the events and omissions giving rise to Plaintiff’s claims against Defendants were committed

  by MPSI and by MPSI employees Gonzalez and Ponder (which, again, the Court should not do).

         3.      The public interest factors favor transfer to the Northern District, or
                 alternatively to the Sherman Division of this District.

         44.     As discussed above, the four private factors are (1) the relative ease of access to

  sources of proof; (2) the availability of compulsory process to secure the attendance of witnesses;

  (3) the cost of attendance for willing witnesses; and (4) all other practical problems that make

  trial of a case easy, expeditious and inexpensive. These factors favor transfer to the Northern

  District, or to the Sherman Division of this District.

         45.     Relative ease of access to sources of proof. When considering this factor, “a

  court looks to where documentary evidence, such as documents and physical evidence, are

  stored.” Durrett, 2018 WL 5630521, at *2 (citing Volkswagen II, 545 F.3d at 316)). If transfer

  would “result in more convenient access to sources of proof,” the factor weighs in favor of

  transfer. Id. Any documentary evidence in MGI’s possession are located at its headquarters in

  Dallas. There may be relevant documents located in MPSI’s Frisco office, but MPSI maintains

  its personnel records in its Dallas headquarters. Any remaining documents are located out of

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  state (including in Gonzalez’s office in Miami) or are in the possession of Plaintiff (in Austin) or

  his counsel (in Dallas). MGI is unaware of any documents or physical evidence located within

  the Texarkana Division. This factor favors transfer, and as between the two transferee courts,

  favors the Northern District.

          46.      Availability of compulsory process.                Non-party witnesses may only be

  compelled to attend trials within 100 miles of the place they reside, are employed, or regularly

  transact business unless the witness would not incur substantial expense, in which case the

  witness may be compelled to attend trial within the state in which he or she resides. Fed. R. Civ.

  P. 45(c)(1)(A)-(B). There are several likely witnesses who reside out of state. For them, this

  factor is neutral, because neither this Court nor either proposed transferee court could compel

  them to attend trial.17 However, there also are several likely witnesses who work or worked

  MPSI in Frisco, or who are employed by MPSI but work in MGI’s headquarters in Dallas. To the

  extent they are for some reason unwilling to attend trial voluntarily, all of those witnesses could

  be compelled to attend trial in either Plano or Dallas. None could be compelled to attend trial in

  Texarkana, at least not if it would cause them to incur “substantial expense.” This factor favors

  transfer, and is neutral as between the potential transferee courts.

          47.      The cost of attendance for willing witnesses.                  “The convenience of the

  witnesses is probably the single most important factor in a transfer analysis.” Durrett, 2018 WL

  5630521, at *3 (quoting Autogenomics, Inc. v. Oxford Gene Tech., Ltd., 566 F.3d 1012, 1342

  (Fed. Cir. 2009)). Perhaps more than any other, this factor favors transfer. As the Fifth Circuit

  explained, “[w]hen the distance between an existing venue for trial of a matter and a proposed

  venue under § 1404(a) is more than 100 miles, the factor of inconvenience to witnesses increases

  17
    None are known to reside in the portions of Oklahoma, Arkansas, and Louisiana that are within 100 miles of the
  Texarkana courthouse.

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  in direct relationship to the additional distance traveled.” Volkswagen I, 371 F.3d at 204-205.

  The distance from the federal courthouse in Plano to the federal courthouse in Texarkana is 176

  miles, and from the federal courthouse in Dallas it is 179 miles to Texarkana.

            48.   During the administrative proceeding, Plaintiff deposed several MPSI employees

  (Ponder, Jon Tyson, and Lea Pfeifer) who reside in the DFW Metroplex, and MGI anticipates

  calling them to testify at trial. Plaintiff identified several additional DFW-based, MPSI- or MGI-

  affiliated witnesses in his disclosures in the administrative proceeding (including, for example,

  Andy Villareal and Kyle DeBlonk), and MGI anticipates it may need to call them to testify at

  trial. For these and any other willing witnesses in the DFW Metroplex, the cost of attendance

  would be substantially greater for them if trial were held in Texarkana rather than Plano or

  Dallas.

            49.   As noted above, there are several likely out-of-state witnesses, including

  Gonzalez, who resides and works in Miami, Florida. During the administrative proceeding,

  Plaintiff deposed Gonzalez and another MPSI employee in Miami (Domh Leandro), as well as

  another MPSI employee living in the Atlanta area (Manuel Goico). Prior to abandoning the

  administrative proceeding, Plaintiff sought to depose a non-party witness in Minneapolis (Dana

  Johnson, an employee of MGI’s client Supervalu), and another in Atlanta (former MPSI

  employee Derya White). Plaintiff has identified additional relevant witnesses, most of whom are

  current or former employees of MPSI, who reside in in several states and even as far away as

  Manchester, England, where Peter Green, a Vice-President of MGI’s UK-based subsidiary, lives

  and works.

            50.   Air travel is the only logical form of transportation for any of these witnesses who

  elect to attend trial. And, while MGI and its counsel recognize that commercial air travel to


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  Texarkana is possible, the only scheduled non-stop flights (at least known to MGI) are to and

  from DFW Airport. Thus, any out-of-state witness traveling to Texarkana for trial would first

  have to travel to an airport within the Northern District to make a connection. When the

  convenience of the DFW-based witnesses is added to the mix, this most important factor weighs

  heavily in favor of transfer, and as between the two transferee courts, slightly favors the

  Northern District.

          51.      All other practical problems that make trial of a case easy, expeditious, and

  inexpensive. “Practical problems include those that are rationally based on judicial economy.

  Particularly, the existence of duplicative suits involving the same or similar issues may create

  practical difficulties that will weigh heavily in favor [of] or against transfer.” Durrett, 2018 WL

  5630521, at *4. There is no risk of duplication of suits associated with transfer. In addition, no

  discovery has been conducted in this case,18 no scheduling order has been entered, and the case is

  not set for trial. Plaintiff will not be prejudiced due to any time delay occasioned by transfer.

  This factor is neutral.

          4.       The public interest factors favor transfer to the Northern District, or
                   alternatively to the Sherman Division of this District.

          52.      As set forth above, the public factors are “(1) the administrative difficulties

  flowing from court congestion; (2) the local interest in having localized interests decided at

  home; (3) the familiarity of the forum with the law that will govern the case; and (4) the

  avoidance of unnecessary problems of conflict of laws of the application of foreign law.”

  Volkswagen I, 371 F.3d at 203. The first, third, and fourth factors are neutral. The second factor

  strongly favors transfer. MGI and MPSI are both headquartered in Dallas. Many of the alleged

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     A substantial amount of discovery was conducted during the administrative proceeding, and if the case is not
  dismissed, MGI anticipates asking the Court to place strict limitations on discovery to prevent unnecessary
  duplication.

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  events and omissions that give rise to Plaintiff’s claims – which were carried out, if at all, by

  MPSI and its employees – are alleged to have occurred in MPSI’s Frisco, Texas, office.

  Texarkana, by contrast, has no local interest in this dispute, and Plaintiff has not attempted to

  allege any factual connection to this Division (and his counsel refused to do so when asked).

  This factor decidedly favors transfer, but is neutral as between the two potential transferee

  courts.

            53.    In summary, the majority of the public and private interest factors favor transfer,

  and the remaining factors are neutral. No fact (and no factor) favors Texarkana, and Plaintiff’s

  choice of venue is not a separate factor in the discretionary transfer analysis. Saint Lawrence

  Comms. LLC v. Apple Inc., No. 2:16-cv-82-JRG, 2017 WL 3712153, at *2 (E.D. Tex. Feb. 6,

  2017). For all of those reasons, if the Court denies MGI’s motion to dismiss Plaintiff’s claims for

  improper venue, then the Court should exercise its discretion to transfer the case to the Northern

  District of Texas, Dallas Division. Alternatively, the Court should exercise its discretion to effect

  an intra-district transfer to the Sherman Division.

                                        RELIEF REQUESTED

            For the foregoing reasons, MGI respectfully requests that the Court grant the Motion and

  dismiss all of Plaintiff’s claims, causes of action, and requests for relief pleaded against MGI, or

  alternatively that the Court determine that this Division is an improper venue and transfer this

  case to the Northern District of Texas; or in the further alternative, that the Court exercise its

  discretion to transfer this case to Northern District of Texas, Dallas Division, or to the Sherman

  Division of this District. MGI additionally requests that the Court grant all other relief, general or

  special, at law or in equity, to which it may be justly entitled.




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                                               Respectfully submitted,

                                               OGLETREE, DEAKINS, NASH, SMOAK &
                                               STEWART, P.C.


                                               /s/ John M. Barcus
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                                               ATTORNEYS FOR DEFENDANTS


                               CERTIFICATE OF CONFERENCE

          Pursuant to Local Rule CV-7(i), I certify that I have complied with the meet and confer
  requirement in Local Rule CV-7(h) with respect to the non-case-dispositive relief requested
  herein, by conferring with Steve Kardell, counsel for Plaintiff, on April 11, 2019. No agreement
  could be reached, because Plaintiff does not consent to a discretionary transfer of venue, and the
  Parties are at an impasse.

                                               /s/ John M. Barcus
                                               John M. Barcus



                                  CERTIFICATE OF SERVICE

        The foregoing instrument was filed using the Court’s CM/ECF system on April 11, 2019,
  which will transmit a copy to all counsel of record.

                                               /s/ John M. Barcus
                                               John M. Barcus

                                                                                           37425899.1




  DEFENDANT MONEYGRAM INTERNATIONAL, INC.’S MOTION TO DISMISS
  FOR IMPROPER VENUE, OR ALTERNATIVELY,
  MOTION TO TRANSFER VENUE, AND BRIEF IN SUPPORT                                             Page 24
